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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

INTERNATIONAL BUSINESS MACHINES                       )
CORPORATION,                                          )
                                                      )
                               Plaintiff,             )
                                                      )
                  v.                                  )       C.A. No. 16-122-LPS
                                                      )
GROUPON, INC.,                                        )
                                                      )
                               Defendant.             )

                 LOCAL RULE 7.1.2(b) CITATION OF SUPPLEMENTAL AUTHORITY
                    FOR MOTION FOR JUDGMENT ON THE PLEADINGS

         Pursuant to Local Rule 7.1.2(b), Defendant Groupon, Inc. submits this citation of sup-

plemental authority in support of its Motion for Judgment on the Pleadings (D.I. 29). On No-

vember 1, 2017, the United States Court of Appeals for the Federal Circuit affirmed a decision

from this district finding four patents directed to patent ineligible subject-matter under 35 U.S.C.

§ 101. Two-Way Media Ltd. v. Comcast Cable Commc’ns, LLC, No. 2016-2531, 2017 WL

4931936, --- F.3d --- (Fed. Cir. Nov. 1, 2017). A copy of the Federal Circuit’s opinion is at-

tached hereto as Exhibit 1.

           The patents at issue in Two-Way Media described “an improved scalable architecture

 for delivering real-time information.” 2017 WL 4931936, at *1. In reaching its conclusion

 that the patents were invalid under Section 101, the district court rejected Two-Way Media’s

 arguments “that the claims were directed to computer architecture that solved the technical

 problems of load, bottlenecking, and inadequate records,” noting that that the claims did not

 “recite or refer to anything that could be described as an architecture.” Id. at *3.

         The Federal Circuit agreed. It once again reiterated that courts must “look to whether the

claims in the patent focus on a specific means or method, or are instead directed to a result or


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effect that itself is the abstract idea and merely invokes generic processes and machinery.” Id. at

*4. It found the claims to “require[] the functional results” and “not sufficiently describe how to

achieve these results in a non-abstract way.” Id. And Two-Way Media’s proposed claim con-

structions did not change this outcome, because they failed “to indicate how the claims are di-

rected to a scalable network architecture that itself leads to an improvement in the functioning of

the system.” Id. at *5. The Federal Circuit once again emphasized that to be patent eligible, it is

the claims that must recite the inventive solution, not the specification. “The main problem that

Two-Way Media cannot overcome is that the claim—as opposed to something purportedly de-

scribed in the specification—is missing an inventive concept.” Id. Two-Way Media’s claims

did not recite “how the desired result is achieved.” Id.

          The Filepp patents1 suffer from the same shortcomings. (D.I. 30 at 10-18; D.I. 39 at 6-9;

D.I. 167 at 1). Like Two-Way Media, IBM argues that the Filepp patents address network con-

gestion and bottlenecking. (See, e.g., D.I. 37 at 13; see also D.I. 37 at 2, D.I. 168 at 3.) But like

the claims in Two-Way Media, IBM’s claims recite no architecture for doing so, but only an ab-

stract idea of local storage. IBM’s claims lack any specific technical solution; they merely use

“result-based functional language,” without disclosing how to achieve the result. See Two-Way

Media, 2017 WL 4931936, at *4. Accordingly, the Two-Way Media decision further supports a

finding that the claims of the Filepp patents are directed to patent-ineligible subject matter under

Section 101.




    1
        U.S. Patent Nos. 5,796,967 and 7,072,849.


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